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 8                              U.S. DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9

     SHABNAM VAFAEE, an individual,             Case No.: 2:15-cv-03665-MWF-AGR
10
             Plaintiff,                          JOINT MOTION FOR DISMISSAL
11
             vs.
12
     24     HOUR         FITNESS
13
     CORPORATION, and DOES 1-10,
14           Defendants.

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             PLEASE TAKE NOTICE that the parties in this matter jointly move for
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     dismissal of the entire action, with prejudice, and request that all pending hearings and
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     deadlines be vacated accordingly.
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           JOINT MOTION FOR DISMISSAL
Case 2:15-cv-03665-MWF-AGR Document 21 Filed 11/05/15 Page 2 of 2 Page ID #:75



 1   DATED: November 5, 2015                      Respectfully Submitted,

 2                                               /s/ Jared M. Hartman
                                                Jared M. Hartman, Esq.
 3                                              Attorney for Plaintiff

 4   DATED: November 5, 2015                      Respectfully Submitted,

 5                                               /s/ Grant Schrader
                                                Grant Schrader, Esq.
 6                                              Attorney for Defendant

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      JOINT MOTION FOR DISMISSAL
